         Case 5:21-cv-05574-JMG Document 43 Filed 06/06/22 Page 1 of 1



                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

JAMES MICHAEL AMOR, et al.,                      :
               Plaintiffs,                       :
                                                 :
                    v.                           :      Civil No. 5:21-cv-05574-JMG
                                                 :
COURTNEY CONOVER,                                :
                  Defendant.                     :
__________________________________________

                                          ORDER

      AND NOW, this 6th day of June, 2022, upon consideration of Plaintiffs’ Motion for a

Preliminary Injunction (ECF No. 3), IT IS HEREBY ORDERED that Plaintiffs’ motion is

DENIED as moot.




                                          BY THE COURT:



                                          /s/ John M. Gallagher
                                          JOHN M. GALLAGHER
                                          United States District Court Judge
